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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 20-CV-25022-JLK

 GHADA OUEISS,

        Plaintiff,

 vs.

 BIN SALMAN BIN ABDULAZIZ AL SAUD,
 et al.,

        Defendants.
                                                        /

                                    ORDER OF RECUSAL

        The undersigned Judge, to whom the above-styled cause is assigned, hereby
 recuses1 himself and refers the case to the Clerk of Court for reassignment pursuant to 28
 U.S.C. 455.

        DONE and ORDERED in chambers at the James Lawrence King Federal Justice
 Building and United States Courthouse, Miami, Florida, this 18th day of December, 2020.



                                                     JAMES LAWRENCE KING
                                                     UNITED STATES DISTRICT JUDGE

         In accordance with the Local Rules of the Southern District of Florida, providing
 for the random and equal allotment of cases, this cause is hereby reassigned to the
 calendar of United States District Judge KATHLEEN M. WILLIAMS                           .

        Copies of this order shall be served on all pending parties of record by United
 States mail. All documents for filing in this case shall carry the following case number:
  20-25022-CV-WILLIAMS/MCALILEY                                     .




        1
          Upon taking senior status, the undersigned elected not to accept from the Clerk’s blind
 random case assignment any civil case where the civil cover sheet indicated that trial would take
 five or more days.
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                                    18th
       BY ORDER of the Court this       day of December    , 2020.

                                      ANGELA E. NOBLE, Clerk of Court


                                      By: /s/Yvette Y. Alexander
                                             Deputy Clerk

 cc:   Yvette Alexander, Operations Manager

       Counsel of Record




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